     Case 2:13-cr-06070-SAB    ECF No. 34-1       filed 01/09/14   PageID.75   Page 1 of
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     FEDERAL DEFENDERS OF EASTERN WASHINGTON AND IDAHO
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 4   Attorneys for Defendant

 5                          UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF WASHINGTON
 6
     UNITED STATES OF AMERICA,                    )
 7                                                )      CR-13-6070-WFN
              Plaintiff,                          )
 8                                                )      ORDER GRANTING MOTION
       vs.                                        )      TO CONTINUE PRETRIAL AND
 9                                                )      TRIAL AND EXTEND DEADLINE
     KENNY ROWELL,                                )      TO FILE PRETRIAL MOTIONS
10                                                )
              Defendant.                          )
11                                                )      (PROPOSED)

12           BEFORE THE COURT is Defendant’s Motion to Continue Pretrial and
13
     Trial and Extend Deadline to File Pretrial Motions (Ct. Rec. __). For the
14
     reasons set forth in Defendant’s motion, IT IS HEREBY ORDERED that
15
     Defendant’s Motion to Continue Pretrial and Trial and Extend Deadline to
16

17
     File Pretrial Motions (Ct. Rec. __) is GRANTED. The district court

18   executive is directed to enter this order and provide copies to counsel.

19   DATED this ___ day of _______, 20__.
20

21
                                        ___________________________________
22                                          WM. FREMMING NIELSEN
                                          UNITED STATES DISTRICT JUDGE
23

24
     ORDER                                        1
